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13
     Attorneys for Ronald Yandell
14
15                         UNITED STATES DISTRICT COURT
16                       EASTERN DISTRICT OF CALIFORNIA
17   UNITED STATES OF AMERICA,              Case No. 2:19-CR-00107-KJM
18                Plaintiff,
                                            Chief Judge Kimberly J. Mueller,
19         v.                               United States District Court
20   RONALD YANDELL, and
21   WILLIAM SYLVESTER,
22                Defendants.
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             Case 2:19-cr-00107-KJM Document 1957 Filed 03/04/24 Page 2 of 2



 1
 2          Defendants Yandell and Sylvester hereby provide their list of defense witnesses.

 3          Like the government, Mr. Yandell and Mr. Sylvester will also be filing a “non-
     public” list of witnesses, under seal. The defense will provide a copy of this non-public
 4
     list to the government.
 5
            The defense preserves its right to remove or add witnesses to this list, as evidence
 6
     is developed in the government’s case in chief.
 7
 8
            Yandell and Sylvester Defense Witnesses:
 9
     1.     CDCR Employee B. Cope
10   2.     CDCR Employee L. Montecino
11   3.     CDCR Employee L. Wallace
12   4.     CDCR Employee S. Ramirez
13   5.     CDCR Lt. J.A. Baker
14
15   Dated this 4th day of March, 2024.
16                                                     Respectfully submitted,
17
                                                       Rene L. Valladares
18                                                     Federal Public Defender
19                                                     /s/ Brian D. Pugh
20                                                     BRIAN D. PUGH
                                                       Assistant Federal Public Defender
21
                                                       /s/ Sean A. McClelland
22
                                                       SEAN A. McCLELLAND
23                                                     Assistant Federal Public Defender
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                                                       /s/ Steven G. Kalar
26                                                     STEVEN G. KALAR
27
28
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